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                 UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCUIT
                         CASE NO. 22-11059


            EMPIRE INDEMNITY INSURANCE COMPANY

                            Defendant/Appellant,

                                      v.

POSITANO PLACE AT NAPLES I CONDOMINIUM ASSOCIATION, INC.,

                              Plaintiff/Appellee.


                    BRIEF OF APPELLANT
           EMPIRE INDEMNITY INSURANCE COMPANY


                             On Appeal from the
        United States District Court for the Middle District of Florida
                       No. 2:21-cv-00178-SPC-MRM

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                           Inc. Case No. 22-11059
                 CERTIFICATE OF INTERESTED PERSONS

      Pursuant to Federal Rules of Appellate Procedure 26.1 and 28(a)(1), and 11th

Circuit Rules 26.1-1, 26.1-2, and 26.1-3, Appellant, Empire Indemnity Insurance

Company, files this Certificate of Interested Persons and Corporate Disclosure

Statement. The following is a full and complete list of all attorneys, persons,

associations of persons, firms, partnerships, or corporations that have an interest in

the outcome of this appeal.

      1.     Butler Weihmuller Katz Craig LLP – Counsel for Appellant

      2.     J. Pablo Caceres – Appellate Counsel for Appellant

      3.     Christian Lee González-Rivera – Appellate Counsel for Appellant

      4.     Empire Indemnity Insurance Company – Appellant

      5.     Positano Place at Naples I Condominium Association, Inc.–Appellee

      6.     Pavese Law – Counsel for Appellee

      7.     Justin B. Mazzara – Counsel for Appellee

      8.     Boyle, Leonard & Anderson, P.A. – Counsel for Appellee

      9.     Gregory L. Evans – Appellate Counsel for Appellee

      10.    Mark Boyle, Sr. – Appellate Counsel for Appellee


                                       /s/ Christian Lee Gonzalez-Rivera
                                       CHRISTIAN L. GONZALEZ-RIVERA




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                CORPORATE DISCLOSURE STATEMENT

      Pursuant to 11th Circuit Rule 26.1-1, Appellant, Empire Indemnity Insurance

Company, makes the following Corporate Disclosure:

     Empire Indemnity Insurance Company is a wholly owned subsidiary of Empire

Fire and Marine Insurance Company, an Illinois corporation. Empire Fire and

Marine Insurance Company is a subsidiary of Zurich American Insurance Company,

a New York corporation. Zurich American Insurance Company is a wholly owned

subsidiary of Zurich Holding Company of America, Inc., a Delaware

corporation. Zurich Holding Company of America, Inc. is wholly owned by Zurich

Insurance Company Ltd., a Swiss corporation. Zurich Insurance Company Ltd. is

directly owned by Zurich Insurance Group Ltd., a Swiss corporation. Zurich

Insurance Group Ltd. is the only publicly traded parent company, with a listing on

the Swiss stock exchange, and a further trading of American Depositary Receipts

(Stock Ticker: ZURVY).



                                     /s/ Christian Lee Gonzalez-Rivera
                                     CHRISTIAN L. GONZALEZ-RIVERA




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              STATEMENT REGARDING ORAL ARGUMENT

      Because the issues are of first impression and their resolution impacts the

enforcement of insurance appraisal provisions state and circuit-wide, Empire

requests oral argument to assist the Court under Fed. R. App. P. 34(a)(1) and 11th

Cir. R. 28-1(c).




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         STATEMENT OF SUBJECT-MATTER AND APPELLATE
                        JURISDICTION

      The District Court has original jurisdiction under 28 U.S.C. §1332(a)(1) and

this Court has appellate jurisdiction under §1292(a)(1). The order appealed

constituted injunctive relief, since it compelled Empire’s specific performance of the

insurance policy’s appraisal provision.




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                           STATEMENT OF THE ISSUES

         All issues involve purely legal questions seeking this Court’s first impression.

Several have state and circuit-wide impact.

         First, Empire appealed from interlocutory orders compelling appraisal under

28 U.S.C. §1292(a)(1). The specific performance of a contract is an interlocutory

remedy contemplated by Section 1292(a)(1), if the order’s form or substance comes

within the scope of Fed. R. Civ. P. 65. Despite affording injunctive relief in

compelling appraisal, the lower court refused to acknowledge doing as much. Is the

form or substance of the order injunctive and, thus, appealable under Section

1292(a)(1)?1

         Second, the district court improperly compelled appraisal outside the

parameters of specific performance. Florida law regards compelling appraisal a

substantive right to specific performance. Federal courts exercise equitable powers

in affording such relief through Rule 65. Below, the court failed to do this,

compelling appraisal as something other than specific performance instead, without

the requisite pleading or proof. Alternatively, the court reasoned that Positano would

have sufficiently met either burden. May a federal district court compel an

insurance appraisal outside its equity jurisdiction under Rule 65?




1
    Empire rests on its jurisdictional brief in answering “yes” to this question.

                                             1
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Alternatively, did Positano sufficiently plead and show entitlement to specific

performance?

      Third, the district court incorrectly compelled appraisal without adjudicating

Empire’s alleged breach of the provision through summary judgment. Specific

performance of a contract is a remedy presupposing the existence and adjudication

of a breach. Here, the lower court refused to require a summary judgment. May a

federal district court compel appraisal without adjudicating the breach of the

provision through summary judgment?

      Fourth, the district court erroneously compelled appraisal of all buildings,

even those that Empire wholly denied coverage for. The Policy separately insures

each building Positano comprises. Under Florida law, Empire may only be

compelled to appraise buildings it did not wholly deny coverage for. Empire denied

coverage for two buildings. Nevertheless, the court compelled appraisal of all

buildings alike. May a federal district court compel appraisal of all buildings,

where the insurer accepts coverage for only some of them?

      Lastly, the district court wrongly refused to consider providing any reasonable

guidelines requested by Empire for safeguarding minimal due process at appraisal.

Judicial enforcement of appraisal constitutes injunctive relief. The same requires

tailoring under Rule 65 and the lower court’s inherent powers. Moreover, judicial

action must safeguard the parties’ due process. Except for itemization of the award,



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the court below refused to consider any other appraisal instructions, disclaiming any

power to prescribe them. May the lower court tailor the remedy of compelling

appraisal by prescribing reasonable guidelines?




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                          STATEMENT OF THE CASE

I.    Introduction

      Judicial enforcement of insurance appraisals is in disarray. Federal procedure

granting such relief has grown arbitrary and uncertain. It should be neither. Despite

raising new questions of procedure, including how a federal court may properly

compel appraisal, this case does not demand novel solutions. This Court is aided by

long-standing common law and federal equitable principles. In and out of Florida,

compelling appraisal constitutes the injunctive remedy of specific performance,

absent a contrary statute. Logically, Federal Rules of Civil Procedure 56 and 65

should govern access to such relief. These rules safeguard due process in granting

pleaded remedies before trial and compelling parties to act in aid of such relief. Yet,

these rules are routinely side-stepped in compelling appraisal in this circuit.

      Instead, district courts increasingly mirror a worrisome practice spreading

among Florida courts. Rather than compel appraisal upon a showing of entitlement

to specific performance, courts do so upon mere motion, without injunctive relief

needing to be pleaded or proven. Adding to the uncertainty, district courts even allow

these motions despite the moving party having initially pled—or attempted to

plead—entitlement to specific performance. The result is a novel and unprincipled

procedure. Essentially, the practice affords the benefits of Rules 56 and 65 without

imposing on movants any of the attending burdens.



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      Against this backdrop, Empire was compelled to appraise below. It appeals

from this unprecedented procedural shortcut to regain the long-standing guarantees

of federal law and equity.

II.   Historical and Legal Background

      A.     Growth of Procedural Disarray in Compelling Appraisal

      Appraisal is routinely sought in cases like this one, with condominium

associations claiming millions of dollars in benefits allegedly owed. Despite the high

stakes involved in insurance appraisals, federal courts are inconsistent in how they

compel them. An overview of the current procedural disarray in compelling

appraisal helps to understand why the court below resorted to a novel procedure,

how the latter contrasts with historical practice, and what the stakes of this appeal

are for Empire and similarly situated parties.

      Previously rare and cost-effective, appraisals are now the expensive “new

normal” in property insurance claims due to climbing litigation. See Johnny Parker,

Understanding the Insurance Policy Appraisal Clause: A Four-Step Program, 37 U.




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TOL. L. REV. 931, 931 (2006).2 The “gold rush”3 to sue for appraisal raises concerns

about exaggerated or fraudulent repair and replacement estimates. See MICHAEL

BOYER & BARRY ZALMA, PROPERTY INVESTIGATION CHECKLISTS: UNCOVERING

INSURANCE FRAUD §1:42 (13th ed., 2021 update).4 Florida, of course, is ground zero

for such litigation.5


2
  See also JONATHAN WILKOFSKY, THE LAW AND PROCEDURE OF APPRAISAL 5, 60
(3d ed., 2015) (noting increased litigation and expense); Timothy Gray, Brian Odom,
& Shannon O’Malley, Benefits, Pitfalls, and Trends in Property Insurance
Appraisal, 44-SPG BRIEF 20, 22 (2015) (intended as cost-effective); Mark Ticer, A
Primer on Appraisal in Texas: One of the Most Frequently Abused and Misused
Provisions in an Insurance Policy, 5 J. TEX. INS. L. 41, 42 (2004) (historically
intended to benefit insurer).
3
  Cf. Evan Stephenson & Kayla Scroggins-Uptigrove, “Just Win, Baby”: The Tenth
Circuit Rejects the “Anything Goes” Tactics of the Hail-Litigation Gold Rush, 96
DENVER L. REV. 267, 267, 276 (2019) (describing increase in federal storm litigation
as “gold rush,” defined as “when the law substantially creates or expands
opportunities to make money by filing civil lawsuits, and plaintiffs’ lawyers respond
. . . by filing many new lawsuits that previously would not have been brought”).
4
  Cf. also BAXTER DUNAWAY, 4 LAW OF DISTRESSED REAL ESTATE §44A:17 (2022
update) (55% of real estate appraisers reported being pressured to inflate value). One
wonders what that figure is among insurance appraisers, “not governed by any
industry standards.” Charles Edwards, An Appraisal of the Appraisal Remedy in
Property Insurance, 136 THE NAT’L REV. (Vol. XII) (May, 11, 2022).
5
  Florida homeowner insurance litigation represented 76.4% of such litigation
nationwide in 2019. Amy O’Connor, NAIC Data: Florida Property Lawsuits Total
76% of Insurer Litigation in U.S., INSURANCE JOURNAL (April 14, 2021). This has
turned Florida into “a legal sinkhole,” “threatening to swamp [insurers] even during
years when there are no storms,” impacting both industry profits and homeowner
premiums. Ed Leefeldt, Why Is Homeowners Insurance In Florida Such a Disaster?,
FORBES (Mar. 26, 2021) (“Florida insurers saw a profit of almost $800 million in
2014 dwindle to a net loss of $340 million in 2019[.]”).

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      The Florida Supreme Court’s decision in Johnson likely played a role in the

proliferation of appraisals and related litigation. Johnson v. Nationwide Mut. Ins.

Co., 828 So. 2d 1021 (Fla. 2002). Deviating from history,6 Johnson allowed

appraisers to decide damage causation, a coverage issue normally reserved for

courts. Perhaps the Court did not understand it at the time, but allowing appraisers

to determine causation is a practice that raises due process concerns. See, e.g.,

Walnut Creek Townhome Ass’n v. Depositors Ins. Co., 906 N.W.2d 205, 205 (Iowa

Ct. App. July 19, 2017) (McDonald, J., dissenting). Johnson also exponentially

raised the stakes, giving appraisers the ability to directly or indirectly decide

coverage issues in multi-million dollar cases.

      A subsequent Florida Supreme Court case further compounded the stakes in

appraisal. While Johnson expanded the authority of appraisers, the Florida Supreme

Court then reduced their accountability and procedural safeguards in 2002, when it

held that the Arbitration Code was inapplicable to appraisals. Allstate Insurance

Company v. Suarez, 833 So. 2d 762 (Fla. 2002). With the onslaught of the 2005 and




6
  Cf. Timothy Gray et al., Benefits, Pitfalls, and Trends in Property Appraisal, 44-
SPG BRIEF 20, 21 (2015) (historically, appraisals only invoked if agreement existed
on existence and scope of damage). Alabama continues to adhere to the majoritarian
interpretation of appraisal as excluding causation determinations, openly rejecting
Johnson. See Rogers v. State Farm Fire & Cas. Co., 984 So. 2d 382, 392 (Ala. 2007).


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2006 hurricane seasons, Florida experienced a “significant rise” in appraisal

demands ever since.7

        As a result of Johnson and Suarez, the perception is that not only could

appraisers settle the scope, cause, and value of a multi-million dollar loss, but they

could also do it however they wish. Any claim may become a multi-million dollar

one. Unsurprisingly, disputes often arise involving the procedural and substantive

contours of appraisal to correct that perception.

        Yet, Federal courts have grown procedurally unpredictable in compelling

appraisal. Some require that appraisal be pleaded or proven as specific performance.

See, e.g., Biscayne Cove Condo. Ass’n, Inc. v. QBE Ins. Corp., No. 10-23728-CIV,

2013 WL 2646828, at *3 (S.D. Fla. June 12, 2013). Others do not, denying that

compelling appraisal is “remedial” at all. See, e.g., Marbella at Spanish Wells 1

Condo. Ass’n, Inc. v. Empire Indem. Ins. Co., No. 2:21-cv-641, 2022 WL 1302328,

at *1 (M.D. Fla. May 2, 2022). Others leave procedural burdens to the moving

party’s choice. See, e.g., Positano Place at Naples I Condo. Ass’n, Inc. v. Empire

Indem. Ins. Co., No. 2:21-cv-178, 2022 WL 1085541, at *6 (M.D. Fla. Jan. 26,

2022).

        Similarly, some courts construe motions to compel appraisal as essentially

seeking summary judgment. See, e.g., Palmer v. Fidelity Nat’l Prop. & Cas. Ins.


7
    Thomas Kos, The Appraisal Process, PROPERTY CASUALTY 360 (Nov. 2, 2007).

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Co., No. 13-80741, 2014 WL 12461372, at *5 (S.D. Fla. Nov. 7, 2014). Others do

not. See, e.g., Waterford Condo. Ass’n of Collier Cty., Inc. v. Empire Indem. Ins.

Co., No. 2:19-cv-81, 2019 WL 3852731, at *2 (M.D. Fla. Aug. 16, 2019). Even the

same judge will occasionally equivocate on the issue. Compare Creekside Crossing

Condo. Ass’n, Inc. v. Empire Indem. Ins. Co., No. 2:20-cv-00136, 2020 WL

5973177, at *4 (M.D. Fla. Sept. 2, 2020) (deeming “motion to compel appraisal . . .

presently equivalent to a summary judgment motion”), with Creekside Crossing

Condo. Ass’n, Inc. v. Empire Indem. Ins. Co., No. 2:20-cv-136, 2021 WL 2003007,

at *1 (M.D. Fla. May 19, 2021) (deeming motion for summary judgment “not the

proper vehicle to address appraisal”).

      Relatedly, inconsistency also abounds in enforcing ensuing awards. Some

courts properly allow insurers to contest elements of coverage post-appraisal. Others

do not. A minority in this circuit continues to advocate the analogy of appraisals to

arbitration, “confirming” awards the same way. On this, “the federal courts . . . have

[also] muddied the waters.” GREGORY DELL        ET AL.,   FLORIDA INSURANCE LAW &

PRACTICE §14:8 (2021-2022 ed.).8


8
 Compare, e.g., Three Palms Pointe, Inc. v. State Farm Fire & Cas. Co., 250 F.
Supp. 2d 1357 (M.D. Fla. 2003) (disallowing insurer from contesting elements of
coverage post-appraisal), with Liberty American Ins. Co. v. Kennedy, 890 So. 2d
539, 541 (Fla. 2d DCA 2005) (disapproving of Three Palms Pointe and allowing
challenge of coverage elements post-appraisal), and Fla. Gaming Corp. v. Affiliated
FM Ins. Co., No. 07-20897-Civ-Ungaro, 2008 WL 11407210, at *1 n.1 (S.D. Fla.
Apr. 21, 2008) (following Kennedy).

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      Since Suarez, a novel practice has emerged whereby federal courts

increasingly compel appraisal upon mere motion, a shadow of the process

traditionally required for specific performance. And absent from federal “equity

jurisdiction,” embodied by Rule 65. See Ferrero v. Assoc. Materials Inc., 923 F.2d

1441, 1448 (11th Cir. 1991).9 The court below relied on this novel practice in

refusing to require a specific performance showing.

      B.     The Novel Process Defies Historical Practice

      There is nothing normal to this “new normal” of compelling appraisal upon

mere motions and argument of counsel. Although appraisal “has been a part of

property insurance for at least 200 years,” Gary Williams, Winning the Property

Insurance Appraisal, 45-OCT JTLATRIAL 22, 26 (2009), this novel practice

enforcing it is recent everywhere.

      Historically, courts rarely compelled appraisal. In theory, they could through

specific performance. Red Cross Line v. Atlantic Fruit Co., 264 U.S. 109, 120-121

(1924). In practice, they did not. “[S]pecific performance [wa]s a departure from

common law.” Hepburn et al. v. Auld. et al., 5 Cranch 262, 279 (1809). And breach

of contract damages were available: a trial in lieu of appraisal could determine the




9
 Cf. also Western Surety Co. v. PASI of LA, Inc., 334 F.Supp.3d 764, 799 (M.D. La.
Sept. 25, 2018) (“[T]he Court cannot enforce state law allowing specific
performance absent proof of . . . Rule 65’s requirements.”).

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amount of loss. See 44 A.L.R.2d 850 §1 (1955) (insurer’s failure to appraise

“abrogate[d] the appraisal clause,” freeing insured to “institute an action for damages

for the breach”).10 So too in Florida. Cf. Hanover Fire Ins. Co. v. Lewis, 10 So. 297,

302 (Fla. 1891) (relying on Gauche v. London & L. Ins. Co., 10 F. 347, 356 (E.D.

La. 1881) (explaining that “‘[i]f two persons, whether in the same or in a different

deed from that which creates the liability, agree to refer the matter upon which the

liability arises to arbitration, that agreement does not take away the right of

action.’”) (emphasis added)). Although some courts barred suit unless appraisal took

place,11 consequential damages were available for wrongful refusal. See Biddle, 24

F. Cas. at 256.12

      Despite the “dearth of direct authority” on some aspects, 44 A.L.R.2d 850 §1

(1955), enough exists: appraisal was either not specifically performable at all, or was

in theory but not in practice, due to available contractual damages. See Alfred Hayes,



10
   See also Cedant Corp. v. Forbes, 70 F.Supp.2d 339, 343 (S.D.N.Y. 1999); Saba
v. Homeland Ins. Co. of America, 159 Ohio St. 237, 248-249 (Ohio 1953) (Hart, J.,
dissenting) (explaining common law refusal); Tscheider v. Biddle, 24 F. Cas. 253,
255 (E.D. Miss. 1877) (noting availability of damages).
11
  Holmes v. Richet, 56 Cal. 307, 313, 315 (Cal. 1880) (acknowledging failure of
policy to make it a condition precedent, but still deeming appraisal as such).
12
  Biddle, 24 F. Cas. at 256. Cf. also Vista Pointe Townhome Ass’n Inc., 2018 WL
1773407, at *6-7 (acknowledging insured’s “‘chicken-and-egg’ dilemma” but
noting adequate remedy in insured’s bad faith claim).


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Specific Performance of Contracts for Arbitration or Valuation, 1 CORNELL L. REV.

225, 225 (1916) (“doctrine that equity will not specifically enforce contracts for . . .

valuation” “almost uniformly adhered to”).13

      Today, most jurisdictions continue to enforce appraisal through specific

performance. JONATHAN WILKOFSKY, THE LAW AND PROCEDURE OF APPRAISAL 344-

345, 349 (3d ed., 2015). However, some did not allow such specific performance

absent an enabling statute. See Happy Hank Auction Co. v. American Eagle Fire Ins.

Co., 1 N.Y.2d 534, 538 (N.Y. 1956).14 The proliferation of arbitration statutes caused




13
  See also Sidney Simpson, Specific Enforcement of Arbitration Contracts, U. PENN.
L. REV. 160, 161, 176 (1934) (noting refusal to enforce even “in spite of the manifest
inadequacy of the legal remedy,” and explaining any change must be legislated);
Wesley A. Sturges & William W. Sturges, Appraisals of Loss and Damage Under
Insurance Policies, 13 U. MIAMI L. REV. 1, 2 (1958) (appraisal “enforcement” “at
common law” “suggests, of course, specific performance of the provision” through
suit “to obtain a[n] . . . injunctional order that the non-complying party proceed with
appraisal,” to force the appointment of appraisers or umpires, or for damages).
14
   See also Penn Central Corp. v. Consolidated Rail Corp., 56 N.Y.2d 120, 129
(N.Y. Ct. App. 1982) (deeming specific performance of appraisal “a remedy not
available at common law”). Happy Hank’s view of the common law of appraisal was
first contradicted by Saba, 159 Ohio St. at 237. Even critics of Happy Hank admit
that Saba’s approach was “new . . . within traditional equity jurisprudence.” See
Sturges, supra at 9, 13. See also 112 A.L.R. 9 (1938) (noting case law disproving
Sturges’ claims of “insufficient authority” on issue); Richard Coulson, Is
Contractual Arbitration an Unconstitutional Waiver of the Right to Trial by Jury in
Oklahoma?, 16 OKLA. CITY U. L. REV. 1, 11 (1991) (labeling “common law of
arbitration” “monolithic”).


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further confusion in jurisdictions where they do not expressly include appraisals.15

And yet, “[t]he distinction . . . can have ramifications on the authority of the court.”

15 COUCH ON INSURANCE §209:10 (2021 update).16

         Despite the “numerous courts around the country . . . tak[ing] guidance from

cases and statutes relating to arbitration, insurance appraisal is actually distinct.”

WILKOFSKY, THE LAW AND PROCEDURE OF APPRAISAL at 21. Most states recognize

this. Id. at 22-24. The analogy has yielded “serious consequences” nationwide. Id.

at 37.

         So too in this circuit. Pre-Suarez cases applying the Arbitration Code to

appraisals caused “confus[ion] . . . with somewhat unpredictable consequences.”

WILKOFSKY, THE LAW         AND   PROCEDURE     OF   APPRAISAL at 23. The analogy is

motivated by policy considerations. Id. at 39. Against Suarez, courts in this circuit

continue to compel appraisal by relying on pre-Suarez cases. Even when Florida




15
  See Amy M. Coughenourd, Appraisal and the Property Insurance Appraisal
Clause—A Critical Analysis: Guidance and Recommendations for Arizona, 41 ARIZ.
ST. L.J. 403, 413 (2009). Nor do appraisals come within the Federal Arbitration Act.
Salt Lake Tribune Publ’g Co., LLC v. Management Planning, Inc., 390 F.3d 684
(10th Cir. 2004); Evanston Ins. Co. v. Cogswell Properties, LLC, 683 F.3d 684 (6th
Cir. 2012).
16
   Timothy P. Law & Jillian L. Starnovicha, What Is It Worth? A Critical Analysis
of Insurance Appraisal, 13 CONN. INS. L.J. 291, 298 (2006-2007) (issue “impact[s]
the applicability of state and federal laws, as well as the procedural protections
afforded”).

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courts increasingly warn that, in the appraisal context, “the analogy [to the Code]

[i]s misplaced.” Cuban-Hebrew Congregation of Miami, Inc., 5 So. 3d at 712.

      The novel practice of compelling appraisal has become noticed. People’s

Trust Ins. Co. v. Nowroozpour, 277 So. 3d 135, 136 (Fla. 4th DCA 2019) (deeming,

in dicta, mere motion to compel appraisal as “traditional” as pleading and proving

specific performance). Yet, it is not traditional. And it is foreign to federal procedure.

See Mapleton Processing, Inc. v. Society Ins. Co., No. C12-4083-LTS, 2013 WL

3467190, at *24 (N.D. Iowa July 10, 2013) (disavowing such power).17

      This new practice highlights why “[f]ew premises are recited so . . .

reflexively, as ‘specific performance is an extraordinary remedy.’” David Frisch,

Commercial Common Law, the United Nations Convention on the International Sale

of Goods, and the Inertia of Habit, 74 TLN. L. Rev. 495, 541 (1999). Historically,

those seeking specific performance of non-land contracts “face[d] an uphill battle in

American courts” given “the presumption in favor of money damages.” Jason

Kirwan, Appraising A Presumption: A Modern Look at the Doctrine of Specific

Performance In Real Estate Contracts, 47 WM. & MARY L. REV. 697, 701 (2005).

Today, it looks more like a race down-hill. At least in the insurance context.



17
  See also Vista Pointe Townhome Ass’n Inc., 2018 WL 1773407, at *6 n.5 (same);
Battles, Inc. v. Nationwide General Ins. Co., No. 3:19-cv-13-DML-DCP, 2020 WL
6365513, at *4-*5 (E.D. Tenn. March 10, 2020) (same).


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III.   Factual and Procedural Background18

       A.    The Property and the Policy

       This case involves a Hurricane Irma claim that Empire investigated and paid

in the amount it believed owed. Positano, a residential complex spanning five

buildings, stands on Florida’s southwestern shore in Naples [R. 672 (¶4)]. Each

building is separately scheduled and insured under a policy, number ECL9490628-

02 (the “Policy”) ($10,053,670 total value) [R. 578-580]. And each is subject to a

3% deductible (totaling about $301,610.10). Id.

       The Policy pays Replacement Cost coverage benefits by default after repairs

are completed. The Policy also allows Positano to present instead a ACV claim

without having to perform repairs:




                       [. . .]




18
   All references to the Record on Appeal—the Appendix to Empire’s merits brief
to be filed shortly—are as follows: “R. at _,” or “R. at _ (¶_).”

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[R. 65]. The Policy also contains an appraisal provision [R. 609], which reads:




                    [. . .]




      B.     Empire Investigates and Adjusts the Claim

      Positano first notified Empire of storm damage to its property as a result of

Hurricane Irma in March of 2018, seven months after the loss [R. 673 (¶6)]. Empire

investigated. It inspected the property that same month [R. 673 (¶7), 679]. The

following month, Empire explained that its engineers found damage only to some

buildings and that it fell under the applicable deductibles [R. 682]. Empire requested

Positano to provide supplemental documentation if it disagreed [R. 683]. Almost a

year later, Positano first submitted a “partial” sworn proof of loss (“POL”) seeking

only RCV [R. 673 (¶9)] for a net $194,089.90 [R. 215]:




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Empire rejected the POL [R. 673 (¶10)]. The next month, in May of 2019, Empire

denied coverage as a whole for any damage to two of the five buildings [R. 674

(¶11), 692]. Empire also sought to re-inspect [R. 679].

      Five months later, Positano submitted a new POL for a net $1.8 million in

RCV benefits only [R. 649]:




      Empire made undisputed actual cash value (“ACV”) payments totaling

$39,266.96 for those buildings it deemed damage based on its own estimate [R. 697].

It even agreed to Positano’s request for a 180-day extension of the two-year

limitation to conduct repairs and incur ordinance or law (“O&L”) expenses [R. 674

(¶12)]. Despite the extension, Positano did not complete or pay for the allegedly

needed repairs or replacements [R. 674 (¶13)]. Empire did not accept coverage for

any windows and doors claimed. Id. at ¶14. It also explained to Positano that no

replacement cost value (“RCV”) or O&L expenses could be owed absent paid-for,

completed replacements. Id. at ¶15.



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      C.       Positano Sues Empire

      Positano then sued Empire in January of 2021, seeking specific performance

of appraisal and breach of contract damages [R. 23-26]. Empire moved to dismiss,

arguing that the complaint failed to sufficiently plead specific performance or other

injunctive relief, as well as a proper breach of contract claim [R. 324]. Although the

lower court disagreed with Empire on specific performance, it dismissed the

complaint for failing to allege breach of contract [R. 351-52].

      Positano filed a second amended complaint, seeking specific performance,

breach of contract damages, and declaratory judgment [R. 446]. Empire answered it,

raising among other defenses that: (1) Positano had never completed or paid for the

replacements in the amount sought [R. 544-47, 551-52]; (2) appraisal was

inappropriate for buildings for which Empire wholly denied coverage [R. 549]; and

(3) the complaint failed to sufficiently state a claim for specific performance relief

[R. 554-55].

      Positano immediately moved to compel appraisal [R. 557]. Empire opposed

it, arguing that: (1) compelling appraisal constituted specific performance relief that

Positano failed to plead and show [R. 652, 657]; (2) compelling appraisal constituted

relief that should be obtained through a summary judgment showing [R. 660]; (3)

appraisal was not appropriate for buildings for which Empire denied coverage [R.

661]; and (4) certain guidelines were necessary to make appraisal consistent with the



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Policy and due process [R. 662, 667]. Positano did not reply to Empire’s response

[R. 4]. It belatedly requested a hearing instead [R. 701], which the lower court

denied [R. 704]. Still, the Honorable Magistrate issued a report recommending

appraisal [R. 706].

      Empire objected to the Magistrate’s conclusions as to each of its arguments

against appraisal [R. 735]. Positano opposed the objections, for the first time

addressing the arguments Empire raised before the Magistrate [R. 760]. The lower

court denied Empire’s timely request for leave to reply to Positano’s arguments [R.

774]. It then compelled appraisal, adopting the Magistrate’s report and overruling

Empire’s objections [R. 776].

      Empire since appealed from the order [R. 787]. After considerable briefing

[R. 829, 840, 848, 858], the district court has not yet ruled on Empire’s pending

motion to stay the matter pending the appeal [R. 5].




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      STATEMENT OF THE STANDARD AND SCOPE OF REVIEW

      This Court reviews de novo all legal conclusions in the orders19 compelling

appraisal. See Jacobs v. Nationwide Mut. Fire Ins. Co., 236 F.3d 1282, 1285 (11th

Cir. 2001). Other circuits agree. See Fireman’s Fund Ins. Co. v. Steele Street Limited

II, 2022 WL 39392, at *5 (10th Cir. Jan. 5, 2022) (reviewing interlocutory order

compelling appraisal de novo); Hayes v. Allstate Ins. Co., 722 F.2d 1332, 1335 (7th

Cir. 1983) (reviewing propriety of interlocutory appraisal order as legal ruling, not

discretionary one). Cf. also Milligan v. CCC Information Services, Inc., 920 F.3d

146, 152 (2d Cir. 2019) (reviewing de novo); Nygaard v. Property Damage

Appraisers, Inc., 779 Fed. App’x 474, 475 (9th Cir. 2019) (same).

      Additionally, de novo review of all components of the orders is appropriate

because Empire sufficiently objected to the Honorable Magistrate’s report below as

one made under 28 U.S.C. 636(b)(1)(B) (requiring district court to review de novo

all portions) and Fed. R. Civ. P. 72(b)(3) (same). Cf. J.P.F.D. Investment

Corporation v. United Specialty Ins. Co., 769 Fed. App’x 698, 703 (11th Cir. 2019)

(noting that Fed. R. Civ. P. 72(b) applied to preserve de novo review district court’s

order on appraisal objections); Rodriguez v. Powell, 853 Fed.App’x 613, 618 (11th




19
  Both rulings—the magistrate and the district court judge’s—are before this Court.
See, e.g., Wingerter v. Chester Quarry Co., 185 F.3d 657, 661 (7th Cir. 1998).

                                         20
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Cir. 2021) (same); JM Walker LLC v. Acadia Ins. Co., 356 Fed. App’x 744, 748 (5th

Cir. 2009) (same).




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                       SUMMARY OF THE ARGUMENT

      First, a federal court should not compel appraisal absent sufficient

pleading and proof of entitlement to specific performance. Florida law deems

compelling appraisal specific performance relief. Federal courts may only exercise

equitable powers (embodied by Rule 65) in affording it. Here, the lower court

incorrectly asserted that it could compel appraisal as something other than specific

performance, without pleading or other requirements governing contractual

remedies or anchored in federal procedure. The court’s alternative finding, that

Positano’s motion satisfied such burden even if they applied, was also erroneous.

      Second, a federal court should not compel appraisal without adjudicating

the breach of the provision through summary judgment. The specific

performance of a contract is a remedy that presupposes its pleading and proof of a

party’s breach of the provision. Courts may not grant insufficiently pled relief or do

so without adjudicating a breach. Here, the lower court did both.

      Third, a federal district court may not compel appraisal of buildings for

which coverage was wholly denied. Each building Positano comprises is separately

insured under the Policy. Florida law does not allow the appraisal of buildings for

which an insurer has wholly denied coverage. Despite Empire’s denial of coverage

to some buildings, the court below still ordered the appraisal of all.




                                          22
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      Lastly, a federal court may prescribe reasonable guidelines for appraisal

in tailoring the remedy of compelling it. Specific performance constitutes relief

that requires discretion and tailoring under Rule 65. A court may also resort to its

inherent powers in imparting minimal instructions to safeguard the integrity and

efficiency of the appraisal process, as well as the parties’ due process. Except for

requiring an itemized award, the court disavowed having power to consider any

other guidelines.




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                                  ARGUMENT

I.    Compelling Appraisal without a Showing of Specific Performance was
      Procedurally Improper

      A.     Compelling Appraisal Constitutes Specific Performance

      Positano should have sufficiently alleged and proven entitlement to specific

performance under Rule 65. It did not. Instead, the court erroneously denied that

compelling appraisal is “remedial” [R. 779], upholding the Magistrate’s conclusion

that Positano was “not required to plead and prove . . . specific performance” [R.

718]. All despite the “persuasive value” of Empire’s authorities [R. 717].

      First, the “right to compel appraisal” is enforceable through “a claim for

specific performance of policy obligations” in Florida. Nowroozpour, 277 So. 3d at

136. See also People's Tr. Ins. Co. v. Vidal, 305 So. 3d 710, 715 (Fla. 3d DCA 2020)

(same).20 Compelling appraisal constitutes a discretionary remedy that must be

pleaded or waived. See People’s Trust Ins. Co. v. Fernandez, 317 So. 3d 207, 211

(Fla. 3d DCA 2021) (referring to appraisal as “remedy . . . [that] upholds the terms

of the policy”); Vidal, 305 So. 3d at 715 (insurer sufficiently invoked appraisal in

counterclaims).21


20
  Cf. also Twelfth Ave. Investments, Inc. v. Smith, 979 So. 2d 1216, 1220 (Fla. 4th
DCA 2008) (appraisement of value in real estate context constituted specific
performance).
21
  Cf. Ruckdeschel v. People’s Trust Ins. Co., 327 So. 3d 311, 314 (Fla. 4th DCA
2021) (reversing grant of motion to compel repairs where insurer never pleaded in

                                         24
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      This Court has noted as much. See, e.g., Anoushfar v. Lexington Ins. Co., No.

21-11244, 2021 WL 4848073. at *7 (11th Cir. Oct. 18, 2021) (insured “s[ought]

specific performance in the form of an order compelling . . . appraisal”). District

courts in this circuit agree. See Biscayne Cove Condo. Ass’n, Inc., 2013 WL

2646828, at *3.22

      Other federal courts concur. See Vista Pointe Townhome Ass’n Inc. v. Auto-

Owners Ins. Co., No. 16-cv-0973, 2018 WL 1773407, at *6 (D. Colo. April 13,

2018).23 Even scholarship so believes. See 16 COUCH ON INSURANCE § 232:170 (3d


answer or counterclaim a request of specific performance of its option to repair);
Todd v. Hyzer, 18 So. 888, 890 (Fla. 1944) (“[S]pecific performance is not a matter
of right, but . . . determined from all the facts and circumstances.”).
22
  See also Residences at European Village Condo. Ass’n, Inc. v. Rockhill Ins. Co.,
No. 3:19-cv-1490, 2020 WL 5948314, at *4 (M.D. Fla. July 17, 2020) (same);
Parkway Baptist Church, Inc. v. Guideone Elite Ins. Co., No. 10-23965, 2011 WL
13099891, at *3 (S.D. Fla. Sept. 11, 2011) (same); Creekside Crossing Condo. Ass'n,
Inc. v. Empire Indent. Ins. Co., No. 2:20-cv-136, 2020 WL 1904011, at *1 (M.D.
Fla. Apr. 17, 2020) (same).; La Gorge Palace Condo Ass’n, Inc. v. QBE Ins. Corp.,
733 F.Supp.2d 1332, 1334 (S.D. Fla. 2010) (denying appraisal for failure to plead
and prove specific performance); Saltponds Condo. Ass’n, Inc. v. Rockhill Ins. Co.,
No. 20-CV-10063-JEM, 2020 WL 6875747, at *2 (S.D. Fla. Oct. 26, 2020)
(dismissing count seeking specific performance of appraisal where coverage
denied).
23
   See also McCoy v. American Family Mut. Ins. Co., 189 F.Supp.3d 896, 900 (D.
Minn. 2016) (motion to compel appraisal seeks specific performance despite parties’
failure to characterize it as such); Woodward v. Liberty Mut. Ins. Co., No. 3:09-cv-
0228, 2010 WL 1186323, at *3 (N.D. Tex. Mar. 26, 2010) (motion to compel
appraisal enforces appraisal clause through specific performance); St. Panteleimon
Russian Orthodox Church v. Church Mut. Ins. Co., No. 13-1977, 2013 WL 6190400,
at *3 (D. Minn. 2016) (motion to compel appraisal essentially a motion seeking

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ed., 2021) (“A policy’s requirement for an appraisal of a loss may be specifically

enforced.”).24

      Second, a federal court’s equity jurisdiction to grant specific performance,

embodied by Rule 65, requires a showing of injunctive relief. Compare Ferrero, 923

F.2d at 1448 (federal “equity jurisdiction” incorporated by Rule 65), with Westar

Energy, Inc. v. Lake, 552 F.3d 1215, 1223, 1225 (10th Cir. 2009) (“Specific

performance is an equitable remedy, and an interim grant of specific relief is a

preliminary injunction.”).25




specific performance order); Sauer v. Xerox Corp., 17 F.Supp.2d 193, 201 (W.D.
N.Y. 1988) (describing common law power to “order specific performance of an
appraisal”); Mapleton Processing, Inc., 2013 WL 3467190, at *24 (denying
appraisal for failure to plead and show specific performance entitlement); Battles,
Inc., 2020 WL 6365513, at *4-*5 (same).
24
   See also Sturges, supra at 2 (explaining that “enforcement” of appraisal “suggests,
of course, specific performance of the provision” through suits seeking an
injunction, the appointment of appraisers or umpires, or for damages); Hayes, supra
at 225; Simpson, supra at 160-161; Amy Schmitz, Ending A Mud Bowl: Defining
Arbitration’s Finality Through Functional Analysis, 37 GA. L. REV. 123, 169 (2002)
(“Under contract law, courts may enforce valid appraisal agreements and
determinations by ordering damages, specific performance, or other contract
remedies.”); Law & Starinovich, What Is It Worth? A Critical Analysis of Insurance
Appraisal, supra at 315-16 (compelling appraisal involves preliminary injunction).
25
   See also Stephen N. Subrin, How Equity Conquered Common Law: The Federal
Rules of Civil Procedure in Historical Perspective, 135 U. PENN. L. R. 909, 920
(1987) (specific performance incorporated by Rule 65); PASI of LA, Inc., 334
F.Supp.3d at 799 (“[T]he Court cannot enforce state law allowing specific
performance absent proof of . . . Rule 65’s requirements.”).

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      This is supported by the fact that, for purposes of appeals under Section

1292(a)(1), courts analyze whether a specific performance order “is injunctive in

character” under Rule 65. See Supreme Fuels Trading FZE v. Sargeant, 689 F.3d

1244, 1246 (11th Cir. 2012) (Pryor, C.J., concurring) (quoting Petrello v. White, 533

F.3d 110, 114 (2d Cir. 2008)). Thus, two other circuits deem orders compelling

appraisal injunctive. See Steele Street Limited II, 2022 WL 39392, at *5 (holding

order “requir[ing] . . . adher[ance] to the Policy’s Appraisal Provision . . .

substantively an injunctive order”); Hayes, 722 F.2d at 1335 (same). Still, the lower

court refused to hold Positano to the strictures of injunctive relief.

      Third, the reasons proffered by the district court for its refusal are neither

correct nor persuasive. Relying on no precedent, it concluded that compelling

appraisal is not remedial, but the same as discovery relief [R. 779]. This contravenes

Florida and federal precedent, as well as nationwide common law. See, e.g.,

Mapleton Processing, Inc., 2013 WL 3467190, at *24 (“A court can compel parties

to comply with their discovery obligations. Appraisal, however, is a right created by

contract, not a discovery procedure.”). The court relied solely on a fellow district

court judge’s ruling, currently on appeal [R. 779-80].

      The court also asserted procedural power to compel appraisal based solely on

its “subject-matter jurisdiction” [R. 780]. Yet, this side-steps Rule 65 and the




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exercise of equitable powers it governs. Nor is the mere fact that Empire’s argument

has not succeeded with other district court judges legally persuasive [R. 780].

      Fourth, nor does the Magistrate’s reasoning support the court’s ruling. For

example, he concluded that Positano did not need to plead or prove specific

performance because “parties can seek appraisal through breach of contract and

declaratory judgment actions” [R. 719 (alluding to Castillo at Tiburon Condo. Ass’n,

Inc. v. Empire Indem. Ins. Co., No. 2:20-cv-468, 2021 WL 4438370 (M.D. Fla. Sept.

28, 2021), and Creekside Crossing Condo. Ass’n, Inc., 2020 WL 5973177)].26

      Yet, Creekside does not provide a rationale or rely on authority for its

proposition. Cf. Calzadilla, 2019 WL 22455518, at *4 (court action taken “without

analysis” “is not persuasive”).27 And Castillo incorrectly disagreed that compelling

appraisal constituted injunctive relief. 2021 WL 4438370, at *1-*2. Neither case

involved a motion to compel appraisal or the identical specific performance

argument made in this case. Creekside even ruled that the insured did sufficiently

allege the elements of specific performance to compel appraisal. 2021 WL 1610092,


26
  The Honorable Magistrate incorrectly cited to a different, 2020 Castillo ruling, but
clearly meant the 2021 Castillo order.
27
   See Battles, Inc., 2020 WL 6365513, at *5 (denying appraisal while sitting in
diversity jurisdiction and explaining that, although “Plaintiff cites several cases,
arguing that motions to compel the appraisal process are regularly considered by
courts . . . [t]hese cases, however, do not discuss the proper procedure to bring such
motions”); Vista Pointe Townhome Ass’n Inc., 2018 WL 1773407, at *6 n.5
(similarly denying motion).

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at *2. Despite acknowledging that specific performance is a separately pleaded claim

for relief traveling under breach of contract or declaratory action, the court inferred

from this that a party may choose to seek appraisal through either specific

performance or a mere motion without pleading such relief. Id at *1. This does not

follow. And the fact that it is unsettled whether someone “must” seek specific

performance of appraisal is of no moment [R. 719].

       The Magistrate’s conclusion that a party can choose between these two ways

to seek appraisal ultimately derives from Nowroozpour [R. 720]. There, the panel

noted that “it may [still] be more traditional” for a party to merely “move to compel

an appraisal to seek enforcement of the policy provisions.” Nowroozpour, 277 So.

3d at 136. This was not its holding. Cf. Parents Involved in Community Schools v.

Seattle School Dist. No. 1, 551 U.S. 701, 737 (2007) (courts “not bound to follow .

. . dicta in a prior case in which the point now at issue was not fully debated”); Hale

v. Johnson, 845 F.3d 224, 228 n.1 (6th Cir. 2016) (“[D]icta” “lack[ing] . . . analysis

on [an] issue . . . is unpersuasive.”).

       Notably, Nowroozpour has no bearing on federal procedure. Whatever the

recent traditions of Florida courts of general jurisdiction, this issue turns on a

question of procedure among federal courts of limited jurisdiction. “In [a] diversity




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case,” federal courts “apply federal procedural law.” J.P.F.D. Investment

Corporation, 769 Fed. App’x at 702 n.3.28

      The Magistrate also reasoned that, despite Suarez, “[a]ppraisal provisions” are

“generally . . . treated as arbitration provisions” [R. 720, 722 (citing, among other

cases, Three Palms Pointe, Inc., 250 F.Supp.2d at 1362)]. But this is a matter of

federal procedure. And even if Florida law controlled, no aspect of appraisals is

subject to its Arbitration Code. This Court need not “make a[] [new] Erie guess that

the Florida Supreme Court would not apply [a] statute” here like the Arbitration

Code. cf. McMahan v. Toto, 311 F.3d 1077, 1080 (11th Cir. 2002). It did so long

ago. Southern Flapjacks. See Columbia Cas. Co. v. Southern Flapjacks, Inc., 868

F.2d 1217, 1223 (11th Cir. 1989) (“The Florida Arbitration Code applies . . . not to

appraisals.”).29 Florida precedent has since validated Southern Flapjacks.

      Suarez “held that the Florida Arbitration Code is not applicable to appraisal

cases.” Citizens Prop. Ins. Corp. v. Cuban-Hebrew Congregation of Miami, Inc., 5



28
  See also Vista Pointe Townhome Ass’n Inc., 2018 WL 1773407, at *6 n.5 (refusing
to compel appraisal on similar grounds); Battles, Inc., 2020 WL 6365513, at *4-*5
(denying appraisal because diversity jurisdiction required application of federal
procedural law); Mapleton Processing, Inc., 2013 WL 3467190, at *24 (expressing
similar concerns).
29
   Early precedent deemed appraisals outside the scope of arbitration statutes. See,
e.g., City of Omaha v. Omaha Water Co., 218 U.S. 180, 192-99 (1910) (holding
appraisal was not an arbitration); Collins v. Collins, 53 Eng. Rep. 916, 919 (1858)
(same).

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So. 3d 709, 712 (Fla. 3d DCA 2009). Since Suarez, Florida’s appellate courts have

continued to curb all recourse to the Code. See State Farm Fla. Ins. Co. v. Gonzalez,

76 So. 3d 34, 37 (Fla. 3d DCA 2011) (rejecting “petition to confirm” appraisal award

as if it were an arbitration award) (citing Florida Insurance Guaranty Ass'n v.

Olympus Ass'n, 34 So.3d 791 (Fla. 4th DCA 2010)); Citizens Prop. Ins. Corp. v.

Mango Hill #6 Condo. Ass’n, Inc., 117 So. 3d 1226, 1230 (Fla. 3d DCA 2013) (“The

Florida Arbitration Code is not applicable to appraisal awards.”); Cuban-Hebrew

Congregation of Miami, Inc., 5 So. 3d at 712 (reversing trial court’s refusal, based

on Arbitration Code, to apply deductibles to appraisal award).

      The trend is clear. For example, writing for the majority in an opinion before

his ascension, Justice Canady expressly disapproved of Three Palms Pointe’s refusal

to allow the challenge of coverage for elements of loss after appraisal. Kennedy, 890

So. 2d at 541. Every other district with an opinion agrees with Kennedy. See

American Capital Assurance Corp. v. Leeward Bay at Tarpon Bay Condo. Ass’n,

Inc., 306 So. 3d 1238, 1243 (Fla. 2d DCA 2020); Williams v. Citizen Prop. Ins. Co.,

285 So. 3d 334, 335 (Fla. 4th DCA 2019); Safepoint Ins. Co. v. Hallet, No. 5D20-

206, 2021 WL 2599656, at *2 (Fla. 5th DCA, June 25, 2021); Olympus Ass’n, 34




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So. 3d 791; Mango Hill #6 Condo. Ass’n, Inc., 117 So. 3d at 1229. As do most

district court rulings in this circuit.30

       Although this Court would “write[] in . . . disappearing ink” on the issue,

McMahan, 311 F.3d at 1079, writing in Florida is on the wall: “the analogy [to the

Code] [i]s misplaced.” Cuban-Hebrew Congregation of Miami, Inc., 5 So. 3d at 712.

Analogy is a tool of reasoning, not a source of power. An Article III court cannot

exercise Rule 65 powers outside its bounds, anchored in mere reasoning. To say that

“Suarez did not . . . overturn Florida’s prior policy and precedent” of enforcing

appraisal through motions to compel arbitration [R. 721], or that federal courts

“maintain[] the ability to compel appraisal outside of granting specific performance”

disregards the legal trend just described [R. 722].31


30
   Although “federal district courts have divided as to whether . . . to follow Three
Palms Pointe or . . . Kennedy,” Fouladi v. Geovera Specialty Ins. Co., No. 6:18-cv-
326-Orl-40KRS, 2018 WL 3761039, at *6 n.4 (M.D. Fla. April 30, 2018), a growing
majority of cases in this Circuit expressly side with Kennedy. See Fla. Gaming Corp.
v. Affiliated FM Ins. Co., No. 07-20897-Civ-Ungaro, 2008 WL 11407210, at *1 n.1
(S.D. Fla. Apr. 21, 2008); Sands on the Ocean Condo. Ass’n, Inc. v. QBE Ins. Corp.,
No. 05-14362-Civ, 2009 WL 790120, at *2-*3 (S.D. Fla. Mar. 24, 2009); Jin Zhi
Star Lt. LLC v. American Zurich Ins. Co., No. 08-61101-Civ-Moreno/Torres, 2011
WL 13110260, at *3-*4 (S.D. Fla. June 16, 2011); Grove Towers Condo. Ass’n, Inc.
v. Lexington Ins. Co., No. 19-24199-Civ-Cooke/Goodman, 2020 WL 4561599, at *4
(S.D. Fla. June 9, 2020).
31
   Should any aspect of this issue turn on a question of Florida law, Empire
respectfully requests this Court to certify it to the Florida Supreme Court. See, e.g.,
Anderson v. Auto-Owners Ins. Co., 172 F.3d 767 (11th Cir. 1999) (certifying
question involving insurance policy), certified question answered by Auto-Owners
Ins. Co. v. Anderson, 756 So. 2d 29 (Fla. 2000); Sun Ins. Office, Ltd. v. Clay, 133

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      Lastly, the lower court’s practice has arbitrary and unfair consequences.

Affording the same relief whether Positano chose to plead and prove it as specific

performance or not, the court allows Positano to choose between a higher and lower

burden to obtain the same thing. Nothing comparable is done in other legal contexts.

It is the nature of the relief that triggers the procedural mechanisms procuring it, not

the choice of vehicle that redefines such relief. The matter is all the worse where, as

here, Positano did choose to plead specific performance [R. 449-452 (¶¶25-44)] only

to turn around and choose again a different vehicle. A concise blueprint of what

appraisal litigation should procedurally look like may be useful.32




So. 2d 735, 742 (Fla. 1961)(“It is now well established procedure for a federal court
to abstain from deciding the merits of a case so as to afford the state courts a
reasonable opportunity to construe a state statute involved in the case.”).
32
   Ordinarily, compelling appraisal should be sufficiently pleaded as specific
performance. This allows the insurer to raise equitable and other defenses. A motion
to compel appraisal should require a showing under Rule 65. The movant must meet
the high burden of specific performance. As argued below, it should also seek
summary judgment on that relief as pleaded. If any award is not paid, then the
movant (often the insured) may file a supplemental pleading alleging that the non-
movant (often the insurer) has breached the policy by failing to make payment. Cf.
J.P.F.D. Investment Corp., 769 Fed. App’x at 705-706 (“If the parties cannot agree
on the covered loss amount, they must undergo the contractual appraisal before [the
insurer’s] obligation to pay . . . ripens.”). The parties may then continue litigation of
coverage post-appraisal, as required by Kennedy. And the movant may even seek
summary judgment on the amount owed. Mango Hill #6 Condo. Ass’n, Inc.


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      B.     Positano Failed to Plead and Show Entitlement to Specific
             Performance

      Equally wrong was the lower court’s failure to analyze whether Positano

sufficiently pleaded and showed entitlement to the “extraordinary” relief of specific

performance [R. 778-80]. The Honorable Magistrate’s alternative conclusion that

Positano met such burden was no less incorrect [R. 718].

      First, the Magistrate concluded, without analysis and on no authority, that the

required showing of specific performance was disposed of by the prior order denying

Empire’s motion to dismiss that count [R. 718]. Even if correct, the order would only

extend to the sufficiency of the complaint, not the separate showing of proof by

motion. However, the order’s analysis was incorrect.

      “Specific performance shall only be granted when 1) the plaintiff is clearly

entitled to it, 2) there is no adequate remedy at law, and 3) the judge believes that

justice requires it.” Castigliano v. O’Connor, 911 So. 2d 145, 148 (Fla. 3d DCA

2005) (citation omitted). Id. “Threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009).

      Here, Positano alleged that: (1) the Policy provided for appraisal [DE 39 at ¶

28]; (2) Positano demanded it [R. 450 ¶¶ 28, 31]; (3) Empire ignored that demand

[R. 451 ¶¶ 36, 43]; (4) there is no adequate remedy at law in the absence of an order

compelling it [R. 451 at ¶ 37]; (5) in the absence of specific performance, Positano

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would suffer irreparable harm [R. 451 at ¶ 38]; (6) Positano has a clear right to

enforce appraisal [R. 451 at ¶ 40]; and (7) justice requires compelling it [R. 451 at ¶

44]. These allegations lacked the requisite factual predicate for specific performance.

      Even if the first three allegations were deemed sufficient to state the first legal

element, the rest fail to support the remaining legal elements. In alleging no remedy

at law, Positano merely recites the requirement. And in circular fashion, stating that

“[t]here is no adequate remedy at law to compel Empire to participate in the appraisal

process” [R. 451 at ¶ 37]. That is, no remedy but specific performance is adequate

where specific performance is sought. But the remedy at law that must be shown

inadequate is money damages. These exist, as discussed above.33 And Positano seeks

them even under this count [R. 452 (praying for “any damages”)].

      Positano’s allegation that a failure to appraise precludes it from repairing its

property is insufficient. And meritless. Empire is not Positano’s lender, but its

insurer. See Buckley Towers Condominium v. QBE Ins. Corp., 395 Fed. App’x 659,

662 (11th Cir. 2010) (“Although [the insured] may be unable to receive the full range



33
  See Saba, 159 Ohio St. at 248-249 (Hart, J., dissenting) (explaining common law
refusal to specifically enforce appraisal); Hepburn et al., 5 Cranch at 279 (specific
performance a departure from common law); Specific Performance of Contracts
Containing A Provision to Arbitrate, 31 Y.L.J. 670, 670-671 (1922) (“Equity will
usually not grant specific performance of contracts for valuation or arbitration, even
though the legal remedy is inadequate . . . . But exceptions to this rule are
recognized.”) (citing FRY, SPECIFIC PERFORMANCE (4th ed. 1903) sec. 356; 5
POMEROY, EQUITY JURISPRUDENCE (4th ed. 1919) sec. 2180).

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of benefits of their contract without an advance payment . . . that cost and

inconvenience may not relieve [it] of repairing the building prior to claiming RCV

damages.”).

      Identical allegations are routinely deemed insufficient to specifically enforce

appraisal. See, e.g., Parkway Baptist Church, Inc. v. Guideone Elite Ins. Co., No.

10-23965-CIV, 2011 WL 13099891, at *3 (S.D. Fla. Sept. 21, 2011) (“[I]t is unclear

that Plaintiff can demonstrate there is no adequate remedy at law”).34 Other federal

courts agree. See, e.g., Battles, Inc., 2020 WL 6365513, at *4-*5 (same). The court

and the Magistrate failed to consider Parkway Baptist Church or other cases.

      Second, even if Positano sufficiently pleaded such relief, its motion “proved”

nothing, and the court did not properly exercise discretion in granting relief. Federal

procedure requires satisfaction of Rule 65, the exercise of discretion in weighing

factors, and the tailoring of this remedy. Cf. Sturges, supra at 3 n.6 (recognizing

courts must weigh injunctive factors and exercise discretion in compelling

appraisal).35 Any conflict between Florida law and Rule 65 is resolved in favor of


34
  See also La Gorge Palace Condo. Ass’n, Inc., 733 F.Supp.2d at 1334 (same);
Sardinas v. Miami Veterinary Specialists, P.A., No. 1:20-cv-22987, 2020 WL
7241364, at *10 (S.D. Fla. Dec. 8, 2020) (same in different context); Vallina v.
Mansiana Ocean Residences, LLC, 2010 WL 11553422, at *8 (S.D. Fla. Oct. 12,
2010) (same).
35
   See also Amy Schmitz, Refreshing Contractual Analysis of ADR Agreements by
Curing Bipolar Avoidance of Modern Common Law, 9 HARV. NEGOT. L. REV. 1, 2,
4 n.22 (2004) (courts should not automatically compel specific performance of extra-

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the latter. See Blue-Grace Logistics LLC v. Fahey, 340 F.R.D. 460, 466 (M.D. Fla.

2022). The fact that Florida courts may do something else does not justify importing

that practice. Cf., e.g., MaxLite, Inc. v. ATG Electronics, Inc., No. 15-1116, 2019

WL 3283077, at *3 (D. N.J. July 22, 2019) (refusing to enact “parallel procedure”

tracking state “summary action” practice and instead evaluating injunction claim to

compel payment through Rule 56).

      Moreover, motions for specific performance require “testimonial and

documentary evidence, including expert testimony of the specialized nature of the

contract subject matter that damages would not be a just and reasonable substitution

for its loss.” 5 BUS. & COM. LITIG. FED. CTS. § 49:79 (4th ed.2020). Courts must find

“[t]hat the comparative benefit and harm to the parties if specific performance is

granted favors the party bringing the action.” Id.

      Here, Positano’s motion met no such burden. It traveled neither under Rule

65 nor Florida law, both requiring “clear proof.” Compare Castigliano, 911 So. 2d

at 149, with Tipton v. Woodbury, 616 F.2d 170, 178 (5th Cir. 1980). Nor did the

court treat the motion as one seeking Rule 65 relief. Cf., e.g., Gray Ins. Co. v. Fla.



judicial resolution agreements without balancing equitable factors and exercising
discretion); Georgia Advocacy Office v. Jackson, 4 F.4th 1200, 1208 (11th Cir.
2021) (Rule 65 allows for tailoring of injunction); Samuel Bray, The System of
Equitable Remedies, 63 UCLA L. REV. 530, 557 (2016) (noting that under Rule 65
“court is not limited to saying merely ‘perform the contract’, and it may impose
further conditions . . . as needed”).


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Paving & Trucking, Inc., 2014 WL 12776172, at *2 (S.D. Fla. Feb. 10, 2014)

(treating motion as Rule 65 one because “a stand-alone ‘motion for specific

performance’ is not provided for”).

II.   Compelling Appraisal Absent Summary Judgment that Empire
      Breached the Provision Constituted a Grant of Unpled Relief Redressing
      an Un-adjudicated Wrong

      The court erred in concluding that did “not” need to “treat [Positano’s] motion

to compel appraisal as one for summary judgment” [R. 780]. In the absence of an

adjudicated breach, Empire should not have been forced to perform.

      First, “[s]pecific performance . . . is a remedy for breach.” Ostuw, 2020 WL

6305105, at *3. This entails “a cause of action which requires proof the contract was

breached.’” Macom Technology Solutions Holdings, Inc. v. Ifineon Technologies

AG, 881 F.3d 1323, 1332 (Fed. Cir. 2018) (citation omitted). Cf. also Anoushfar,

2021 WL 4848073, at *3, *7 (specific performance claim logically depended on

breach of contract). It requires “proof of the contract . . . and of its breach.” Tipton,

616 F.2d at 178. Unsurprisingly, appraisal is often sought through summary

judgment. See, e.g., Jacobs, 236 F.3d at 1285 (reviewing summary judgment order




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compelling appraisal).36 Positano would have to defeat Empire’s defenses. See

Stillman v. Travelers Ins. Co., 88 F.3d 911, 914 (11th Cir. 1996).37 It failed to do so.

      Second, “[a]lthough” Positano’s motion “was styled as a motion to compel

[appraisal] . . . it is essentially a motion for summary judgment.” J.W. Mariner Corp.

v. Zurich American Ins. Co., No. 5:20-cv-143, 2021 WL 4958099, at *1 n.1 (N.D.

Fla. July 7, 2021). See also Great Lakes Ins. SE v. Concourse Plaza, A Condo. Ass’n,

Inc., No. 21-cv-21873, 2022 WL 1681883, at *3 (S.D. Fla. May 26, 2022) (treating

motion to compel appraisal as one for summary judgment, since it “will dispose of”

pleaded entitlement to appraisal).38 Federal courts elsewhere agree. See, e.g., McCoy,

189 F.Supp.3d at 900 (motion to compel appraisal “seek[s] partial summary




36
  See also Pernas v. Scottsdale Ins. Co., No. 1:15-cv-21506, 2016 WL 471949, at
*2 (S.D. Fla. Feb. 8, 2016); Cypress Chase Condo. Ass’n A v. QBE Ins. Corp., No.
10-61987, 2013 WL 1191413, at *2-*3 (S.D. Fla. Mar. 22, 2013); People’s Trust
Ins. Co. v. Slavin, No. 4D21-3025, 2022 WL 1021043, at *1 (Fla. 4th DCA April 6,
2022).
37
  Cf., e.g., Allegro at Boynton Beach, L.L.C. v. Pearson, 287 So. 3d 592, 602 (Fla.
4th DCA 2019) (Warner, J., dissenting) (same).
38
   See also Indian Harbor Insurance Company v. International Studio Apartments,
Inc., No. 09-60671-CIV-ALTONAGA/Brown, 2009 WL 10668754, at *3 (S.D. Fla.
Sept. 22, 2009) (treating motion to compel appraisal as one for summary judgment);
Palmer v. Fidelity Nat’l Prop. & Cas. Ins. Co., No. 13-80741, 2014 WL 12461372,
at *5 (S.D. Fla. Nov. 7, 2014) (“Plaintiff’s Motion to Compel . . . Appraisal . . . is
essentially [its] own motion for summary judgment on this issue.”).


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judgment on . . . claim that [insurer] has breached the Policy by refusing to

participate in the appraisal process”).39

      Third, the lower court’s sole reason to the contrary is unpersuasive [R. 780

(citing Waterford Condo. Ass’n of Collier Cty., Inc., 2019 WL 3852731, at *2)].

Waterford is neither analogous nor persuasive.40 There, the court acknowledged that,

where “[o]ne of the counts . . . [is] a demand for appraisal,” courts have “treated a

motion to compel appraisal as a request for summary judgment on that claim.” 2019

WL 3852731, at *2 (citing Int'l Studio Apartments, Inc., 2009 WL 10668574, at *3).

Here, Positano’s complaint sought relief compelling appraisal [R. 449-455 (¶¶25-

44, 61(g))]. The rationale of Int'l Studio Apartments applied.

      Regardless, Waterford incorrectly reasoned that what determines if summary

judgment is necessary to compel appraisal is whether appraisal will decide if the

amount is owed. 2019 WL 3852731, at *2. But what determines whether summary


39
  See also St. Panteleimon Russian Orthodox Church, 2013 WL 6190400, at *3
(motion seeking appraisal functionally summary judgment motion seeking specific
performance); Battles, Inc., 2020 WL 6365513, at *4-*5 (court “declin[ing] to
exercise its power [to grant a motion to compel appraisal] without a motion for
summary judgment or an adjudication on the merits”); Mapleton Processing, Inc.,
2013 WL 3467190, at *24 (same); Battles, Inc., 2020 WL 6365513, at *5 (same).
40
   Empire has appealed many of those cases recently rejecting its argument. See, e.g.,
Creekside Crossing Condo. Ass’n, Inc. v. Empire Indem. Ins. Co., No. 2:20-cv-136,
2022 WL 780950, at *2 (M.D. Fla. Mar. 15, 2022); Positano Place at Naples III
Condo. Ass’n, Inc. v. Empire Indem. Ins. Co., No. 2:21-cv-183, 2022 WL 714810,
at *2 (M.D. Fla. Mar. 10, 2022).


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judgment is required is whether the movant is seeking an adjudication—partial or

not—of a claim, defense, or affirmative relief that is a component of either. Fed. R.

Civ. P. 56(a). If the amount of loss, once calculated by appraisers, is appropriate for

summary judgment,41 why is entitlement to compelling that calculation not also

appropriate? There should be no procedural carve-out for insurance cases involving

appraisal.

III.     The District Court Erroneously Compelled Appraisal of Buildings for
         Which Coverage Was Denied

         The lower court erred in compelling appraisal of all buildings [R. 781].

Neither reason advanced supported its conclusion.

         First, appraisal of all buildings in a multi-building property without regard to

the insurer’s denial of coverage to each building is inappropriate. Where, as here,

the Policy schedules several buildings, “the amount recoverable for a loss affecting

one . . . must be determined independently of any loss affecting the other” for

purposes of appraisal. Pernas, 2016 WL 471949, at *3 (denying appraisal of

building for which insurer denied coverage). See also Florida Ins. Guar. Ass’n v.

B.T. of Sunrise Condo. Ass’n, Inc., 46 So. 3d 1039 (Fla. 4th DCA 2010) (“[E]ach

separately scheduled building is covered by a separate contract of insurance with its

own recoverable amount[.]”).



41
     Mango Hill #6 Condo. Ass’n, Inc., 117 So. 3d at 1230.

                                            41
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      Here, Empire wholly denied coverage for two of the buildings because they

suffered no damage [R. 674 (¶11), 692]. Thus, they were not appraisable. See

Pernas, 2016 WL 471949, at *3 (“[E]ven though they are insured under the same

policy, each property is its own entity, subject to potentially unique coverage issues,”

such that “because [the insurer] completely denied coverage for the losses to the 211

building, appraisal of those losses is not available.”); Johnson, 828 So. 2d at 1022

(“[C]ausation is a coverage question for the court when an insurer wholly denies that

there is a covered loss[.]”). Nationwide, it “is generally sacrosanct that the values to

be appraised are as to each item of loss claimed,” WILKOFSKY, THE LAW              AND

PROCEDURE OF APPRAISAL at 69, not a generalized “claim” or “loss.” Positano never

addressed the argument before the Magistrate [R. 725].

      Second, the court’s two reasons for concluding the opposite are unpersuasive.

For example, it incorrectly analogized this case to Merrick Preserve Condo. Ass’n,

Inc. v. Cypress Prop. & Cas. Ins. Co., 315 So. 3d 45, 50 (Fla. 4th DCA 2021), relying

on the Magistrate’s report [R. 781]. That analysis was equally incorrect [R. 726-28].

He reasoned that the two undamaged buildings were appraisable because, to avoid

appraisal, Empire needed to wholly deny coverage for Positano’s entire claim, not

individual buildings [R. 726].

      Merrick is distinguishable because, as the briefs show, there, the insurer

agreed that there existed some damage—albeit under the deductible—to the relevant



                                          42
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building. Reply Brief, 2020 WL 8611204, at 2 (Fla. 4th DCA Nov. 6, 2020). Here,

Empire’s position always denied coverage for the two buildings for lack of hurricane

damage: a coverage—not an amount of loss—dispute.

      Merrick is also unpersuasive because it relied on distinguishable precedent.

315 So. 3d at 50 (citing to Kendall Lakes Townhomes Developers, Inc. v.

Agricultural Excess & Surplus Lines Insurance Co., 916 So. 2d 12 (Fla. 3d DCA

2005), Underwriters at Lloyd’s, London v. Sorgenfrei, 278 So. 3d 930 (Fla. 5th DCA

2019), and People’s Trust Ins. Co. v. Tracey, 251 So. 3d 931 (Fla. 4th DCA 2018)).

Tracey and Sorgenfrei are homeowner cases involving one building. See Tracey, 278

So. 3d at 932; Sorgenfrei, 278 So. 3d at 930. Thus, the insurers’ coverage denials

there concerned only portions of the single-building property involved. And unlike

here, in Kendall Lakes, “the insurance carrier agree[d] that there is a covered loss,

but disagree[d] as to the amount of loss.” 916 So. 2d at 16 (emphasis added).

      The Magistrate did not successfully distinguish Pernas [R. 726-27]. He

reasoned that Pernas was different because it involved an insurer’s assertion of

unsatisfied post-loss duties, and, here, Empire “has not alleged” such violations. Yet,

Empire did allege that Positano violated post-loss duties [458-59]. Critically,

Pernas’ rationale on this issue did not hinge on post-loss duty violations.

      Pernas reasoned that “the two properties are effectively covered by separate

insurance contracts, meaning that the amount recoverable for a loss affecting one



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property must be determined independently of any loss affecting the other,” and

“[a]n independent coverage determination for each property is thus required.” 2016

WL 471949, at *3. The court agreed with the insurer’s argument that building 221,

undamaged, should not be appraised along with building 211. However, the court

noted that it was “unable to decide whether the losses to the 211 building are

covered,” since critical coverage issues remained, including, but not exclusively,

whether a covered peril caused it or the insured failed to mitigate damage. Id.

Building 211 was the building the insurer admitted as damaged. The court relied on

outstanding post-loss duty issues only to deny the insured’s motion for summary

judgment, since coverage could not be shown as a matter of law for the admittedly

damaged building. Id.

      Alternatively, the lower court wrongly asserted that, even if Empire was

correct, it retained discretion to compel appraisal of all buildings [R. 728, 781]. But

it relied on no precedent. Importantly, the conclusion does not follow. Discretion

over the timing or order of appraisal and coverage adjudication is unrelated to the

requirements defining what is appraisable. The latter are controlled by the Policy.




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IV.   The District Court Refused Imparting Guidelines for Appraisal Based on
      the Erroneous Legal Conclusion that It Lacked Such Discretion

      A.     The District Court Failed to Review the Issue De Novo

      Despite recognizing that it needed to review the Magistrate’s report de novo

[R. 777], the district court improperly analyzed its conclusions on this issue for clear

error only [(R. 782-83)]. All issues required de novo review.

      The court was “obligated to make a de novo review of . . . those factual

findings and legal conclusions that are the subject of objections” in a ruling

“compelling appraisal.” Calzadilla v. Scottsdale Ins. Co., No. 18-25424, 2019 WL

2245518, at *5 (S.D. Fla. April 10, 2019). The practice is nearby universal.42 And

for good reason. Such reports pass on a “matter dispositive of a claim or defense.”

Rule 72(b)(1). See also 28 U.S.C. §636(b)(1)(B); J.P.F.D. Investment Corporation

v., 769 Fed. App’x at 703 (same). Other federal courts agree. See, e.g., State Farm


42
   See Baldwin Realty Group Inc. v. Scottsdale Ins. Co., No. 6:18-cv-785-Or1-
41DCI, 2018 WL 5221228, at *1 (M.D. Fla. Oct. 22, 2018) (adopting magistrate’s
ruling on appraisal only “[a]fter a de novo review of the record”); Castillo at Tiburon
Condominium Ass’n, Inc. v. Empire Indemnity Ins. Co., No. 2:20-cv-468, 2021 WL
4438370, at *2 (M.D. Fla. Sept. 28, 2021) (same); Coral Reef Metro, LLC v.
Scottsdale Ins. Co., 2019 WL 700114, at *1 (M.D. Fla. Feb. 20, 2019) (same);
Waterford Condominium Ass’n of Collier County, Inc., 2019 WL 3852731, at *1
(same); Michelle Condominium, Inc. v. Certain Underwriters at Lloyd’s, London,
2021 WL 4244899, at *1 (S.D. Fla. Sept. 17, 2021) (same); SB Holdings I, LLC v.
Indian Harbor Ins. Co., No. 6:19-cv-668-Or1-40DCI, 2020 WL 1674326, at *1
(M.D. Fla. Jan. 9, 2020) (same); Metropolitan Casualty Ins. Co. v. SFR Services
L.L.C., 2020 WL 4207375, at *1 (M.D. Fla. July 22, 2020) (same); Bettor v.
Esurance Property and Casualty Ins. Co., No.: 18-61860-CIV-MORENO, 2019 WL
3408900, at *1 (S.D. Fla. June 17, 2019) (same).

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Fire & Cas. Co. v. Harper, No. 3:20-cv-00856, 2022 WL 989088, at *2-*3 (M.D.

Tenn. Mar. 31, 2022) (reviewing appraisal order de novo because it required specific

performance and policy interpretation). Here, the error affected the outcome.

      B.     The District Court Improperly Refused to Impart Appraisal
             Guidelines

      The lower court improperly refused to consider any reasonable guidelines for

the appraisal process except itemization of the award, incorrectly assuming it lacked

the power to prescribe them [R. 782]. This fell short of the “great care” that “must

be taken to assure that the power of a court to require . . . action does not result in

unwarranted harm to the defendant,” Alabama v. U.S. Army Corps of Engineers, 424

F.3d 1117, 1127 (11th Cir. 2005).

      First, a district court judge is required to exercise discretion in tailoring the

specific performance of appraisal. Cf. Sturges, supra at 3 n.6 (courts must weigh

injunctive factors and exercise discretion in compelling appraisal).43 Although the

“court is not limited to saying merely ‘perform the contract’, and it may impose

further conditions . . . as needed,” Samuel Bray, supra at 557, that is just what the

lower court did here.




43
   See also Amy Schmitz, supra at 4 n.22 (specific performance of extra-judicial
resolution agreements requires balancing of factors and discretion); Jackson, 4 F.4th
at 1208 (Rule 65 allows for tailoring).


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      Second, a district court may also impart reasonable instructions for appraisal

to safeguard its efficiency and the parties’ due process. “‘[C]ertain implied powers

must necessarily result to our Courts of justice.’” Chambers v. Nasco, Inc., 501 U.S.

32, 43 (1991) (citation omitted). “These powers are ‘governed not by rule or statute

but by the control necessarily vested in courts to manage their own affairs so as to

achieve the orderly and expeditious disposition of cases.’” Id. (citation omitted).

      Relatedly, “the Due Process Clause requires certain minimum procedures ‘to

ensure that [a property interest] is not arbitrarily abrogated.’” Smith v. Organization

of Foster Families for Equality and Reform, 431 U.S. 816, 859 (1977) (Stewart, J.,

concurring) (internal quotations and citation omitted) (emphasis added). “[T]hat

minimum is any reasonable procedure . . . which fairly protects . . . from arbitrary

action.” Burgess v. Miller, 492 F.Supp. 1284, 1290 (N.D. Fla. 1980).

      Governmental action mandating appraisal implicates due process. See, e.g.,

Hardware Dealers’ Mut. Fire Ins. Co. of Wis. v. Glidden Co., 284 U.S. 151, 158

(1931) (upholding constitutionality of statute mandating insurance appraisals only if

“procedure it adopts satisfies the constitutional requirements of reasonable notice

and opportunity to be heard”). Judicial enforcement is no different. Courts have long

required appraisal to respect minimal due process despite its informality. See, e.g.,

Providence Washington Ins. Co. v. Gulinson, 215 P. 154, 155 (Col. 1923) (reversing

appraisal award because “[a]rbitrators constitute a quasi court, and while no



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formalities are necessary, yet some . . . duties and responsibilities are similar”),

approved by Owners Ins. Co. v. Dakota Station II Condo. Ass’n, Inc., 443 P.3d 47,

52 (Col. 2019).44 The same is true of Florida. See, e.g., Lewis, 10 So. at 302 (noting

appraisal award not binding if “irregularity, unfairness, or fraud” shown) (relying on

Burchell v. Marsh, 58 U.S. 344, 349 (1854) (award valid only “[i]f [it] is within the

submission, and contains the honest decision of the arbitrators, after a full and fair

hearing of the parties”)).

      Federal courts continue to exercise inherent powers to safeguard efficiency

and due process. See, e.g., Auto-Owners Ins. Co. v. Summit Park Townhome Ass’n,

129 F.Supp.3d 1150, 1155 (D. Colo. 2015) (imposing minimal guidelines under

“inherent power ‘to control and supervise its own proceedings’”) (citing United

States v. Carrigan, 804 F.2d 599, 603 (10th Cir. 1986)).45 Reasonable instructions


44
  See also St. Paul Fire & Marine Ins. Co. v. Walsenburg land & Development Co.,
278 P. 602, 603 (Col. 1929) (“It is axiomatic that every man has a right to be heard
before judgment; also that he may waive that right. We do not think this appraisal
clause was such a waiver.”); Itasca Paper Co. v. Niagara Fire Ins. Co., 220 N.W.
425, 426-27 (Minn. 1928) (“The duties of the board of appraisal are in the nature of
common-law arbitration.”); Hozlock v. Donegal Companies/Donegal Mut. Ins. Co.,
745 A.2d 1261, 1263 (Pa. Super. Ct. 2000) (appraisal judicially reviewed like
common law arbitration).
45
   See also Villareal v. Owners Ins. Co., No. 16-cv-01862, 2016 WL 9735733, at *2
(D. Col. Dec. 1, 2016) (crafting appropriate guidelines for appraisal); Am. Storage
Centers v. Safeco Ins. Co. of Am., 651 F.Supp.2d 718, 720 (N.D. Ohio 2009)
(referencing “instructions for the . . . appraisal process”); CIGNA Ins. Co. v. Didimoi
Prop. Holdings, N.V., 110 F.Supp.2d 259, 275 (D. Del. 2000) (ordering issues to be
addressed by appraisers); Terra Indus., Inc. v. Commonwealth Ins. Co. of Am., 981

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“protect the integrity of the process[,]” “increase the likelihood of a valid appraisal

award,” and “allow the appraisal process to proceed in an orderly and efficient

manner that conserves the Court’s resources and minimizes the need for further

involvement of the Court.” Id. In Summit Park, the court imposed some of the

guidelines requested by Empire below. Id. at 1156-58 [cf. R. 666-67]. Yet, the lower

court refused to consider these authorities.

      Third, lower court’s authorities for refusing guidelines are unpersuasive. The

reasonable instructions sought by Empire included: (1) access to information relied

on by the appraisers; (2) empowering appraisers to request needed information; (3)

no ex parte communications with the panel without notice; (4) a calculation of ACV

that excludes matching and depreciates labor; and (5) the panel’s reliance solely on

documents showing amounts actually spent on completed repairs in ascertaining

RCV, not estimates [R. 666-67].

      Without elaboration, the court relied on district court rulings denying

itemization because “no policy language requires” them [R. 782]. The Magistrate’s

reasoning was similar. He reasoned that, unless Empire could quote specific Policy

provisions expressly providing for the requested due process instructions,

entertaining and imposing them would necessarily amount to “rewriting” the Policy



F.Supp. 581, 607 (N.D. Iowa 1997) (parties may seek instructions if intractable
disputes arose over appraisal process).

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[R. 729-30]. In support, he relied on rulings from other members of the bench [R.

730 (citing Coral Reef Metro, LLC v. Scottsdale Ins. Co., No. 2:18-cv-460, 2019 WL

721286, at *3 (M.D. Fla. Jan. 30, 2019), and Waterford, 2019 WL 3852731, at *3)].

Yet, Coral Reef and Waterford are not binding. Harris v. Equifax Information

Services, LLC, No. 8:20-cv-1770, 2020 WL 6545977, at *2 n.3 (M.D. Fla. Nov. 6,

2020) (“[F]ederal district judges . . . lack authority to render . . . decisions binding

other judges, even members of the same court.”).

      Nor are Coral Reef and Waterford relevant: here, the Magistrate did

recommend—and the lower court upheld—imparting itemization instructions based

on the Policy “as a whole” [R. 731]. They also did not involve the exact due process

guidelines, arguments, and authorities presented by Empire in this case. Critically,

neither relied on binding or persuasive precedent for its result. Coral Reef relied

exclusively on Intervest Constr. Of Jax, Inc. v. Gen. Fid. Ins. Co., 133 So. 3d 494

(Fla. 2014). Coral Reef Metro, LLC, 2019 WL 721286, at * 3. But Intervest Constr.

did not involve an appraisal award or consider the question posed below. 133 So. 3d

at 497.

      Waterford’s rationale against itemization, that it “will . . . rewrite the policy,”

Waterford, 2019 WL 3852731, at *3, cannot defeat Empire’s due process argument.

On the one hand, it is incorrect. See Bonafonte v. Lexington Ins. Co., No. 08-cv-




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21062-CIV, 2008 WL 2705437, *2 (S.D. Fla. July 9, 2008) (itemization instruction

proper); Olympus Ass’n, Inc., 34 So. 3d at 796 n.1 (approving of Bonafonte).

      On the other hand, the same textual analysis supporting itemization supports

Empire’s instructions for calculating ACV and RCV, and safeguarding due process.

The appraisal provision “leave[s] much to the imagination . . . with regard to . . .

procedure.” WILKOFSKY, THE LAW         AND   PROCEDURE   OF   APPRAISAL at 69. But it

implies just enough. Appraisal will be of “the loss,” and appraisers “will state

separately the value of the property and the amount of loss” [R. 609]. The payable

value of lost or damaged property must be “in accordance with” the valuation

provision [R.399]. That provision, in turn, separately outlines ACV, RCV, and other

expenses as the kinds of value in the Policy [R. 399]. ACV is generally read as

meaning replacement cost minus depreciation. Sos v. State Farm Mutual Auto. Ins.

Co., 396 F.Supp.3d 1074, 1079 (M.D. Fla. 2019).46 The RCV provision replaces the

valuation provision, requiring actual expenditures and repairs [R. 402]. Appraisers

must also be “competent and impartial” [R. 609]. “[P]rocedures” that “help to ensure

‘due process and fair notice’ . . . are . . . supported by the policy language requiring




46
   See also Trinidad v. Fla. Peninsula Ins. Co., 121 So. 3d 433, 438 (Fla. 2013)
(same); Allen v. USAA Cas. Ins. Co., 790 F.3d 1274, 1279 (11th Cir. 2015) (noting
undefined ACV deducts depreciation value based on Trinidad). ACV excludes
matching costs. Vasquez v. Citizens Property Ins. Corp., 304 So. 3d 1280, 1283 (Fla.
3d DCA 2020).

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the appraisers to be ‘competent and impartial.’” Summit Park Townhome Ass’n, 129

F.Supp.3d at 1152.

      Similarly, where, as in this case, the amount sought in RCV benefits has not

been “actually spent” on completed repairs, Empire cannot owe it. Metal Products

Co., LLC v. Ohio Security Ins. Co., No. 21-11612, 2022 WL 104618, at *2 (11th Cir.

Jan. 11, 2022) (citing Ceballo v. Citizens Prop. Ins. Corp., 967 So. 2d 811, 815 (Fla.

2007)); Buckley Towers Condo., Inc. v. QBE Ins. Corp., 395 Fed. App’x 659, 665

(11th Cir. 2010). This renders appraisal of RCV “a purely speculative appraisal of

damages as to which it may be contended no liability at all exists.” New Amsterdam

Cas. Co. v. J.H. Blackshear, Inc., 156 So. 695, 696 (Fla. 1934).

      Appraisal is a mechanism to liquidate an unspecified amount of loss in the

Policy. Id. Here, there is nothing to liquidate in terms of RCV. Positano’s claim is

not even ripe under Article III. See Executive Plaza, LLC v. Peerless Ins. Co., No.

09-1976, 2010 WL 11632677, at *3 (E.D. N.Y. Feb. 8, 2010) (dismissing RCV claim

for lack of repairs or replacements completed and paid for); Cresthaven-Ashley

Master Ass’n, Inc. v. Empire Indem. Ins. Co., No. 19-80959-civ, 2022 WL 873998,

at *4 (S.D. Fla. Mar. 24, 2022) (dismissing O&L claim); Diamond Lake Condo.

Ass’n, Inc. v. Empire Indem. Ins. Co., No. 2:19-cv-547, 2021 WL 6118076, at *3

(M.D. Fla. Dec. 27, 2021) (same). Consequently, it is not appraisable. See Jossfolk

v. United Property & Cas. Ins. Co., 110 So. 3d 110, 111 (Fla. 4th DCA 2013)



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(“[P]rior [appraisal] proceeding had not appraised Ordinance and Law coverage, nor

could it because none had been incurred at the time of the appraisal.”).47

      In sum, despite its authority to impart itemization instructions, the court below

refused to even consider the reasonableness of any of Empire’s other requested

guidelines, whether as a matter of tailoring specific performance, inherent powers,

or due process. The court thought it lacked any such power and exercising it would

rewrite the Policy. Respectfully, this was incorrect.




47
   The lower court will later disregard such calculation. See Ford v. American
Security Ins. Co., No. 1:19-cv-20223-JLK, 2019 WL 6609239, at *3 (S.D. Fla. Dec.
5, 2019) (reducing award by subtracting prior payments and granting summary
judgment to insurer); Allen v. Amica Mutual Ins. Co., No. 1:12-cv-49, 2013 WL
11927705, at *6 (N.D. Ga. Feb. 28, 2013) (RCV component of appraisal award not
owed absent completed repairs).

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                                CONCLUSION

      Empire respectfully asks this Court to reverse the Honorable District Court

Judge’s appraisal order and remand for further proceedings.

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      Appellants brief complies with the word and page limits of the Federal Rule

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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was served

on all counsel of record on June 15, 2022, via the CM/ECF system.



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